Case 1:18-md-02865-LAK   Document 823-1   Filed 06/15/22   Page 1 of 14




                 Exhibit 1
Case 1:18-md-02865-LAK   Document 823-1   Filed 06/15/22   Page 2 of 14
Case 1:18-md-02865-LAK   Document 823-1   Filed 06/15/22   Page 3 of 14
Case 1:18-md-02865-LAK   Document 823-1   Filed 06/15/22   Page 4 of 14
Case 1:18-md-02865-LAK   Document 823-1   Filed 06/15/22   Page 5 of 14
Case 1:18-md-02865-LAK   Document 823-1   Filed 06/15/22   Page 6 of 14
Case 1:18-md-02865-LAK   Document 823-1   Filed 06/15/22   Page 7 of 14
Case 1:18-md-02865-LAK   Document 823-1   Filed 06/15/22   Page 8 of 14
Case 1:18-md-02865-LAK   Document 823-1   Filed 06/15/22   Page 9 of 14
Case 1:18-md-02865-LAK   Document 823-1   Filed 06/15/22   Page 10 of 14
Case 1:18-md-02865-LAK   Document 823-1   Filed 06/15/22   Page 11 of 14
Case 1:18-md-02865-LAK   Document 823-1   Filed 06/15/22   Page 12 of 14
Case 1:18-md-02865-LAK   Document 823-1   Filed 06/15/22   Page 13 of 14
Case 1:18-md-02865-LAK   Document 823-1   Filed 06/15/22   Page 14 of 14
